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                 TED CRUZ FOR SENATE, et al., Plaintiffs
                                v.
                FEDERAL ELECTION COMMISSION, et al.,
                            Defendants.

                   Civil No. 19-cv-908 (NJR) (APM) (TJK).

                United States District Court, District of Columbia

                                  June 3, 2021.

             Charles J. Cooper, John D. Ohlendorf, J. Joel Alicea,
          Cooper & Kirk, PLLC, and Chris Gober, The Gober Group
          PLLC, for Plaintiffs.

              Lisa J. Stevenson, Kevin Deeley, Harry J. Summers, Seth
          Nesin, and Tanya Senanayake, Federal Election Commission,
          Washington, DC, for Defendants.

          Before: RAO, Circuit Judge, MEHTA and KELLY, District
          Judges.

                         MEMORANDUM OPINION

              RAO, Circuit Judge:

               In our constitutional democracy, elections are the primary
          way for the people to express their political will. Political
          speech promotes the free exchange of ideas about principles of
          government, pressing policy matters, and the relative merits of
          candidates for office. In recognition of the centrality of free
          speech to our democracy, the Supreme Court has consistently
          held that “the First Amendment ‘has its fullest and most urgent
          application’ to speech uttered during a campaign for political
          office.” Eu v. San Fran. Cnty. Dem. Cent. Comm., 489 U.S.
          214, 223 (1989) (quoting Monitor Patriot Co. v. Roy, 401 U.S.
          265, 272 (1971)). Protections for political speech extend to
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          campaign financing because effective speech requires
          spending money. See Buckley v. Valeo, 424 U.S. 1, 19–23
          (1976) (per curiam).

               This case raises a constitutional challenge to a somewhat
          obscure campaign finance restriction that limits the amount of
          post-election contributions that may be used to repay a
          candidate’s pre-election loans. Section 304 of the Bipartisan
          Campaign Reform Act of 2002 prohibits candidates from using
          post-election contributions to repay personal loans over
          $250,000. See 52 U.S.C. § 30116(j) (the “loan-repayment
          limit”). Senator Rafael Edward “Ted” Cruz and his campaign
          committee Ted Cruz for Senate brought this suit to invalidate
          and enjoin the enforcement of Section 304 and its
          implementing regulation. We find that the loan-repayment
          limit burdens political speech and thus implicates the
          protection of the First Amendment. Because the government
          has failed to demonstrate that the loan-repayment limit serves
          an interest in preventing quid pro quo corruption, or that the
          limit is sufficiently tailored to serve this purpose, the loan-
          repayment limit runs afoul of the First Amendment. We
          therefore grant summary judgment for Senator Cruz and his
          campaign.

                                            I.

                                            A.

              Candidates for federal office require substantial funds to
          support their campaigns. Funding may come from individual
          contributions, which are subject to a per-election cap. 1 See


          1
           The current base limit is set at $2,900 per election. See 86 Fed. Reg.
          7,867, 7,869 (Feb. 2, 2021). A primary election, general election,
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          Federal Election Campaign Act of 1971 (“FECA”), Pub. L. No.
          92-225, 86 Stat. 3 (codified as amended at 52 U.S.C. § 30116);
          see also 52 U.S.C. § 30116(a)(1)(A) & (c). Candidates may
          also self-finance their campaigns without monetary limits. See
          11 C.F.R. § 110.10; see also Buckley, 424 U.S. at 51–54. Self-
          financing often takes the form of loans, either from a
          candidate’s personal funds or through a third-party lender. A
          campaign may repay a candidate’s loans using contributions
          received both before and after the election. Under Section 304
          of the Bipartisan Campaign Reform Act of 2002 (“BCRA”),
          however, a campaign may repay only $250,000 of a
          candidate’s pre-election loans with post-election contributions.
          See Pub. L. No. 107-155, § 304, 116 Stat. 81 (codified at 52
          U.S.C. § 30116(j)).

               The loan-repayment limit intersects with other restrictions
          on the use of campaign contributions promulgated by the
          Federal Election Commission (“FEC” or “Commission”). For
          instance, an individual may designate a contribution for a
          particular election, including a previous election. See 11 C.F.R.
          § 110.1(b)(2)(i). If designated for a previous election, a
          contribution may be accepted “only to the extent that [it] does
          not exceed net debts outstanding” from that election. See id.
          § 110.1(b)(3)(i). A campaign’s “net debts outstanding” for an
          election equals the “total amount of unpaid debts and
          obligations” minus its total available resources. Id.
          § 110.1(b)(3)(ii)(A)–(C). A campaign may accept post-
          election contributions only to the extent necessary to pay down
          a net shortfall. To effectuate the loan-repayment limit in
          Section 304, the calculation of “net debts outstanding”
          excludes the amount of any candidate loans “that in the

          runoff election, and special election are treated as separate elections.
          See 52 U.S.C. § 30101(1)(A).
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          aggregate     exceed     $250,000      per    election.”    Id.
          § 110.1(b)(3)(ii)(C). The $250,000 limit applies to third-party
          loans secured by the candidate and also to loans from the
          candidate’s personal funds. See id. § 116.11(a).

               A campaign has two options to pay back a candidate’s
          personal loans. First, a campaign “[m]ay repay the entire
          amount of the personal loans using contributions” made before
          the election. Id. § 116.11(b)(1). If the campaign chooses to use
          pre-election contributions, “it must do so within 20 days of the
          election.” Id. § 116.11(c)(1). Second, pursuant to Section 304,
          a campaign may repay up to $250,000 of the personal loans
          with post-election contributions. After the election, any
          balance of the personal loan that exceeds $250,000 will be
          treated “as a contribution by the candidate.” Id. § 116.11(c)(2).

                                         B.

               This case arose from Senator Cruz’s 2018 campaign for
          reelection to the United States Senate. The day before the
          general election, Senator Cruz made two loans totaling
          $260,000 to his campaign: $5,000 from his personal bank
          account and $255,000 from a third-party lender secured with his
          personal assets. Senator Cruz won reelection.

               After the election, Senator Cruz’s campaign had almost
          $2.5 million in debt against approximately $2.2 million in cash
          on hand. The campaign “used the funds it had on hand to pay
          vendors and meet other obligations instead of repaying [Senator
          Cruz’s] loans.” Compl. ¶ 29, ECF No. 1. The campaign did not
          use any pre-election funds within twenty days of the election to
          repay the Senator’s loans, as Section 304’s implementing
          regulation would have permitted. Instead, the campaign repaid
          Senator Cruz the maximum $250,000 with post-election
          contributions but Section 304 prevented the campaign from
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          paying back the final $10,000. The $10,000 balance of those
          loans was subsequently deemed a campaign contribution from
          Senator Cruz.

               Senator Cruz and his campaign (collectively, the “Cruz
          campaign”) brought suit against the FEC, alleging that
          Section 304 of BCRA and its implementing regulation, 11
          C.F.R. § 116.11, violate the First Amendment. The complaint
          contends that the loan-repayment limit unconstitutionally
          infringes the First Amendment rights of Senator Cruz, his
          campaign, other candidates, and any individuals who might
          seek to make post-election contributions. Because the
          complaint concerned a constitutional challenge to a provision
          of BCRA, the Cruz campaign also applied for a three-judge
          district court pursuant to Section 403 of BCRA and 28 U.S.C.
          § 2284. The FEC moved to dismiss for lack of standing and also
          argued that a three-judge court would not have subject matter
          jurisdiction. The one-judge district court denied the FEC’s
          motion to dismiss, held the Cruz campaign had standing to
          challenge the loan-repayment limit, and granted the Cruz
          campaign’s application for a three-judge district court. See Ted
          Cruz for Senate v. FEC, 2019 WL 8272774, at *5–8 (D.D.C.
          Dec. 24, 2019). We convened to hear and decide the case.

             Following additional preliminary proceedings, 2 the Cruz
          campaign and the FEC both moved for summary judgment.


          2
           We assumed supplemental jurisdiction over the Cruz campaign’s
          constitutional and Administrative Procedure Act claims against the
          implementing regulation. See Ted Cruz for Senate v. FEC, 451 F.
          Supp. 3d 92, 100 (D.D.C. 2020). We held these claims in abeyance
          pending resolution of the constitutional challenge to Section 304.
          Order, Ted Cruz for Senate v. FEC, No. 1:19-cv-00908 (D.D.C. Apr.
          15, 2020), ECF No. 49. Our holding that Section 304 cannot pass
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          Summary judgment is warranted if “there is no genuine dispute
          as to any material fact and the movant is entitled to judgment
          as a matter of law.” FED. R. CIV. P. 56(a). “[I]n ruling on cross-
          motions for summary judgment, the court shall grant summary
          judgment only if one of the moving parties is entitled to
          judgment as a matter of law upon material facts that are not
          genuinely disputed.” Shays v. FEC, 424 F. Supp. 2d 100, 109
          (D.D.C. 2006). Because the Cruz campaign and the FEC agree
          that there is no genuine dispute of material fact, we resolve this
          case by summary judgment.

                                         II.

               To determine whether the loan-repayment limit abridges
          First Amendment rights we follow the approach taken in
          McCutcheon v. FEC, the Supreme Court’s most recent foray
          into the constitutionality of a campaign finance regulation. 572
          U.S. 185 (2014) (plurality opinion). First, we assess whether
          the loan-repayment limit burdens political speech and thus
          implicates the protection of the First Amendment. Second,
          because we conclude that the limit burdens political speech, we
          must carefully scrutinize the government’s interests and the fit
          between that interest and the regulatory means chosen to
          effectuate it. Even under the less exacting test of closely drawn
          scrutiny, we find the government fails to demonstrate that the
          loan-repayment limit serves an interest in preventing quid pro
          quo corruption or its appearance. Moreover, the loan-
          repayment limit has only a tenuous connection to the asserted
          government interest in preventing corruption and thus lacks the
          close tailoring necessary under the First Amendment.



          constitutional muster moots the Cruz campaign’s regulatory
          challenges.
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                                         A.

               When presented with a less familiar type of campaign
          finance regulation, we must determine at the outset whether the
          restriction burdens the exercise of political speech. See id. at
          203–06; Ariz. Free Enter. Club’s Freedom Club PAC v.
          Bennett, 564 U.S. 721, 736–47 (2011); Davis v. FEC, 554 U.S.
          724, 738–40 (2008). The Cruz campaign argues the loan-
          repayment limit burdens speech by limiting campaign
          expenditures and contributions. The FEC maintains the limit
          does not burden speech at all. We find the loan-repayment limit
          burdens political speech and thus implicates the protection of
          the First Amendment.

               The First Amendment provides that “Congress shall make
          no law … abridging the freedom of speech.” U.S. CONST.
          amend. I. This Amendment “is designed and intended to
          remove governmental restraints from the arena of public
          discussion, putting the decision as to what views shall be
          voiced largely into the hands of each of us, in the belief that no
          other approach would comport with the premise of individual
          dignity and choice upon which our political system rests.”
          McCutcheon, 572 U.S. at 203 (cleaned up). Robust and free
          political discussion is essential to the republican form of
          government established by our Constitution. Given the
          fundamental interests at stake, the First Amendment
          “safeguards an individual’s right to participate in the public
          debate through political expression and political association.”
          Id. Because financing for political campaigns implicates the
          freedom to speak and to associate, the Supreme Court has long
          recognized that limitations on campaign spending “necessarily
          reduce[] the quantity of expression by restricting the number
          of issues discussed, the depth of their exploration, and the size
          of the audience reached.” Buckley, 424 U.S. at 19.
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              Since Buckley, the Court’s decisions have focused on
          identifying whether a restriction on campaign finance burdens
          expenditures or contributions, in part because the distinction
          can affect the standard of review. 3 See id. at 25, 44–45. But it
          is well established that both expenditures and contributions
          implicate “fundamental First Amendment activities.” Id. at 14.
          When a candidate makes expenditures on behalf of her
          campaign, she exercises her right to speak; and when a
          contributor donates to that campaign, he exercises the right to
          associate with the candidate and to express his support. The
          contributions to a campaign in turn promote more expenditures
          and political speech by the candidate.

               In recent decisions, the Court has declined to eliminate the
          distinction between expenditures and contributions even as it
          has focused on speech interests more generally. See, e.g.,
          McCutcheon, 572 U.S. at 199; id. at 228 (Thomas, J.,
          concurring in the judgment) (suggesting that the distinction
          between expenditures and contributions “has only continued to
          erode in the intervening years”) (cleaned up). The Court has
          emphasized the central question of whether and how a
          challenged regulation burdens political speech. For example,
          in McCutcheon, the Court explained that Buckley’s distinction
          between expenditure and contribution limits stemmed from the
          “the degree to which each encroaches upon protected First
          Amendment interests.” Id. at 197. The Court assessed the
          burden on expressive and associational rights imposed by the
          aggregate contribution limits challenged in that case. See id. at
          204–05. In Davis, the Court found that a regulation burdened a

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           While burdens on expenditures must withstand strict scrutiny, the
          Court has assessed burdens on contributions under a less demanding,
          “but still ‘rigorous standard of review.’” McCutcheon, 572 U.S. at
          197 (quoting Buckley, 424 U.S. at 29).
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          candidate’s expenditures because it raised contribution limits
          asymmetrically, that is, only for the opponents of a candidate
          who spent over a certain amount of his own money. See 554
          U.S. at 738–40. The Court focused on how the regulation
          functioned to analyze the burden that it imposed. See id.; see
          also Bennett, 564 U.S. at 736–47 (evaluating the specific
          operation of Arizona’s matching funds provision and holding
          that it substantially burdened speech). In a political campaign,
          expenditures and contributions are part of a connected cycle of
          speech and association protected by the First Amendment.

               We find that the loan-repayment limit restricts political
          expression and association for candidates and their
          contributors. To begin with, the loan-repayment limit burdens
          candidates who wish to make expenditures through personal
          loans because the limit constrains the repayment options
          available to the candidate. 4 Whereas other campaign debts may
          be repaid by post-election contributions, candidate loans above
          $250,000 do not receive the same treatment. That the candidate
          makes a choice to finance his campaign with personal loans,
          rather than through other forms of debt, does not minimize the
          First Amendment harm. Cf. Davis, 554 U.S. at 739 (“The

          4
            In general, a loan from a candidate to his campaign is treated as an
          expenditure. Both FECA and its regulations define the term
          “expenditure” to include loans. See 52 U.S.C. § 30101(9)(A)(i)
          (“The term ‘expenditure’ includes … any … loan, … made by any
          person for the purpose of influencing any election for Federal
          office[.]”); 11 C.F.R. § 100.111(a) (“A … loan … made by any
          person for the purpose of influencing any election for Federal office
          is an expenditure.”); 11 C.F.R. § 100.111(b) (“For purposes of this
          section, the term payment includes … any guarantee or endorsement
          of a loan by a candidate or a political committee.”); see also
          Anderson v. Spear, 356 F.3d 651, 672 (6th Cir. 2004) (“[L]oans are
          candidate expenditures, unless and until they are repaid.”).
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           resulting drag on First Amendment rights is not constitutional
           simply because it attaches as a consequence of a statutorily
           imposed choice.”). Candidate loans comprise the majority of
           campaign debt, and personal loans will sometimes be the only
           way for a candidate to raise enough money for an effective
           campaign in the short term. The limit places a particular burden
           on relatively unknown challengers who may require more
           financing up front in order to wage an effective campaign
           against a better funded incumbent. See Anderson v. Spear, 356
           F.3d 651, 673 (6th Cir. 2004) (“[A] candidate may need to
           speak early in order to establish her position and garner
           contributions.”).

                We also note that since the enactment of BCRA and the
           loan-repayment limit, “there is a clear clustering of loans right
           at the $250,000 threshold.” Alexei Ovtchinnikov & Philip
           Valta, Debt in Political Campaigns 24 (HEC Paris Research
           Paper No. FIN-2016-1165, May 2020). During this same time
           period, the percentage of candidate loans above $250,000 has
           remained roughly the same while spending on Senate and
           House campaigns has more than doubled, indicating that the
           loan-repayment limit constricts candidate lending.

                We find the burden imposed by Section 304 “is evident
           and inherent in the choice that confronts” candidates who wish
           to use personal loans to finance their campaigns. Bennett, 564
           U.S. at 745 (citing Davis, 554 U.S. at 738–40). The limit
           imposes a “drag” on the candidate’s First Amendment activity
           by discouraging the personal financing of campaign speech.
           Davis, 554 U.S. at 739.

               The FEC defends the constitutionality of the loan-
           repayment limit by maintaining that it does not burden political
           speech at all, because “[m]oney that repays a candidate’s
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           personal loan after an election effectively goes into the
           candidate’s pocket, and not to fund speech or speech-related
           activities.” FEC Mem. in Supp. of Mot. for Summ. J. (“FEC
           Mot.”) 20, ECF No. 65. The Commission highlights that the
           loan-repayment limit does not cap the amount of candidate
           financing or prohibit a candidate from loaning his campaign
           more than $250,000, and the candidate remains free to repay
           the full amount of the loan with pre-election contributions.

                While it is true that the loan-repayment limit is not a ban
           on personal financing, the First Amendment’s protection has
           never been limited to direct restrictions on expenditures,
           because “[t]he First Amendment would … be a hollow
           promise if it left government free to destroy or erode its
           guarantees by indirect restraints.” United Mine Workers of Am.
           v. Ill. State Bar Ass’n, 389 U.S. 217, 222 (1967). Laws that
           regulate in the First Amendment arena must be scrutinized
           even when the “deterrent effect on [speech] arises, not through
           direct government action, but indirectly as an unintended but
           inevitable result of the government’s conduct.” Buckley, 424
           U.S. at 65.

                Even indirect regulations of speech may run afoul of the
           First Amendment, because they can “abridg[e] the freedom of
           speech.” U.S. CONST. amend. I. The word “abridge” means “to
           contract, to diminish, to cut short.” 1 SAMUEL JOHNSON, A
           DICTIONARY OF THE ENGLISH LANGUAGE (6th ed. 1785); see
           also OXFORD ENGLISH DICTIONARY 43 (2d ed. 1989)
           (“abridge”: “To curtail, to lessen, to diminish (rights,
           privileges, advantages, or authority)”). At the time of the
           enactment of the First Amendment, as well as today, the plain
           meaning of “abridge” is to diminish or to curtail the freedom
           of speech. Consistent with this meaning, the First Amendment
           protects individuals not only from direct and outright bans on
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           speech, but also indirect actions the government might take to
           “abridge” the central freedom to speak freely in the democratic
           process.

                Following these general principles, the Supreme Court has
           found a First Amendment burden even absent an outright ban
           or cap, when the regulation acted as a “drag” on speech—
           which is to say an “abridgment” of speech. Davis, 554 U.S. at
           739–40. In Davis, the Supreme Court held unconstitutional a
           provision of BCRA that relaxed the base contribution limits for
           a candidate’s opponents if the candidate spent more than
           $350,000 of his own funds. The provision burdened free
           speech rights even though it “d[id] not impose a cap on a
           candidate’s expenditure of personal funds.” Id. at 738–39.
           Instead, the challenged provision “impose[d] an unprecedented
           penalty” on candidates who chose to “robustly exercise[]
           [their] First Amendment right[s].” Id. at 739. Similarly, in
           Bennett, the Court held unconstitutional an Arizona law that
           gave matching funds to publicly financed candidates if
           privately financed candidates—or independent expenditure
           groups—spent over a set amount. See 564 U.S. at 728. The
           Court concluded that the Arizona law “plainly force[d] the
           privately financed candidate to ‘shoulder a special and
           potentially significant burden’ when choosing to exercise his
           First Amendment right to spend funds on behalf of his
           candidacy.” Id. at 737 (quoting Davis, 554 U.S. at 739). If the
           law curtails a candidate’s ability to speak on his behalf, it runs
           afoul of the First Amendment even when the law is not an
           outright ban.

                The FEC seeks to distinguish Davis and Bennett because
           those cases involved a penalty for candidate speech above a
           certain threshold, whereas the loan-repayment limit has no
           similar penalty—by loaning his campaign more than $250,000
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           a candidate does not indirectly fund his opponent through
           either liberalized, asymmetrical contribution limits (Davis) or
           matching funds (Bennett). First Amendment burdens, however,
           are not limited to prescribed forms. Our review must scrutinize
           regulatory burdens in order to vigorously protect the freedom
           of speech. While not identical to previously challenged
           regulations, the loan-repayment limit restricts a candidate’s
           campaign expenditures by circumscribing the repayment
           options for candidate loans over $250,000. 5

                The FEC’s insistence that the loan-repayment limit does
           not burden political speech overlooks the reality of how the
           limit functions. The FEC narrowly focuses on the repayment
           of the loan and through this lens notes that the loan-repayment
           limit does not restrict expenditures because the candidate
           remains free to loan or contribute as much money as he wishes
           to his campaign. 6 The FEC’s cramped understanding of the

           5
             On the flip side, the loan-repayment limit may also impact
           contributors. Candidate loans over $250,000 are singled out and
           excluded from the “net debts outstanding” that a campaign may pay
           off with post-election contributions. The FEC’s regulations permit
           contributors to designate their contributions for a prior election. An
           individual who wanted to contribute to Senator Cruz after the 2018
           election could not have contributed to—and thus expressed his
           support for—Senator Cruz’s 2018 election campaign if the only debt
           remaining was the Senator’s loan in excess of $250,000.
           6
             The FEC suggests there is no restriction on political speech in this
           case, relying on FEC v. O’Donnell, 209 F. Supp. 3d 727 (D. Del.
           2016). That case is inapposite, however, because it concerned
           FECA’s ban on the use of contributions to pay a candidate’s personal
           expenses. The court held such contributions did not “facilitate
           political expression.” Id. at 739. By contrast, the loan-repayment
           limit restricts political expression and implicates the First
           Amendment in a way that personal expenses for a new outfit and a
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           First Amendment fails to provide adequate protection to the
           important free speech interests at stake. The FEC would isolate
           the transactions at issue until they no longer resemble
           campaign expenditures or contributions.

                In determining whether First Amendment interests are
           implicated, however, we must focus on whether a statute
           burdens political speech, not whether a particular regulatory
           label is a perfect fit. The relative novelty of a campaign finance
           regulation cannot insulate it from judicial scrutiny because
           “political speech must prevail against laws that would suppress
           it, whether by design or inadvertence.” Citizens United v. FEC,
           558 U.S. 310, 340 (2010). Legislators may try different
           regulatory approaches to protect against quid pro quo
           corruption; however, any such regulation of campaigns must
           comport with the First Amendment.

                The loan-repayment limit implicates First Amendment
           interests. A candidate’s loan to his campaign is an expenditure
           that may be used for expressive acts. Such expressive acts are
           burdened when a candidate is inhibited from making a personal
           loan, or incurring one, out of concern that she will be left
           holding the bag on any unpaid campaign debt.

                This case illustrates the reality that contributions and
           expenditures are often “two sides of the same First Amendment
           coin.” Buckley, 424 U.S. at 241 (Burger, C.J., concurring in
           part and dissenting in part). Contributions allow a candidate to
           make further expenditures, reflecting the practical link between
           the associational and expressive activity of the candidate and
           contributor. By limiting the amount of post-election
           contributions that can be used to retire candidate loans, the

           gym membership arguably do not. See 52 U.S.C. § 30114(b)(2)(B)
           & (I).
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           loan-repayment limit abridges political speech and implicates
           the protection of the First Amendment.

                                            B.

                Because the loan-repayment limit encumbers political
           speech, the government has “the burden of proving the
           constitutionality of its actions.” McCutcheon, 572 U.S. at 210
           (cleaned up). The parties dispute the relevant standard of
           review. The Cruz campaign maintains we should apply either
           the strict scrutiny applicable to expenditure limits or the closely
           drawn scrutiny applied to contribution limits. By contrast, the
           FEC suggests the loan-repayment limit must be analyzed under
           deferential rational basis review because the limit burdens no
           First Amendment interests. Because we find the loan-
           repayment limit restricts expressive and associational interests
           in political campaigns, we must apply a form of heightened
           scrutiny, either strict or closely drawn.

                Under either form of heightened scrutiny, we assess the
           government’s asserted interest in restricting speech and the fit
           between that interest and the means the government has chosen
           to fulfill it. See id. at 199. Applying strict scrutiny, a regulation
           will be upheld only if it furthers a compelling government
           interest and the government uses the least restrictive means of
           furthering that interest; whereas under closely drawn scrutiny
           a regulation will be upheld “if the State demonstrates a
           sufficiently important interest and employs means closely
           drawn to avoid” abridging First Amendment freedoms. See id.
           at 197.

               The loan-repayment limit fails under even the less
           exacting test of closely drawn scrutiny and so, as in
           McCutcheon, we have no need to “parse the differences”
           between the standards of scrutiny. Id. at 199. The government
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           fails to demonstrate that the loan-repayment limit serves an
           interest in addressing quid pro quo corruption. In addition, we
           find “a substantial mismatch,” id., between the government’s
           asserted interest and the loan-repayment limit.

                                          1.

                The government bears the burden of demonstrating that
           the loan-repayment limit serves a sufficiently important
           interest that justifies the burden on political speech. The
           Supreme Court has made clear that the only recognized
           government interest in restraining political speech is
           “preventing corruption or the appearance of corruption.” Id. at
           206–07. The Court has considered—and rejected—other
           government justifications such as “reduc[ing] the amount of
           money in politics,” id. at 191; “level[ing] electoral
           opportunities by equalizing candidate resources and
           influence,” Bennett, 564 U.S. at 748 (cleaned up); reducing
           “[i]ngratiation and access,” Citizens United, 558 U.S. at 360;
           or equalizing viewpoints among individuals and groups,
           Buckley, 424 U.S. at 48–49. The government’s interest in
           eliminating corruption is limited to quid pro quo corruption, in
           other words, “dollars for political favors.” McCutcheon, 572
           U.S. at 192 (quoting FEC v. Nat’l Conserv. PAC, 470 U.S. 480,
           497 (1985)). To comport with the First Amendment, a
           regulation of political speech must target only this particular
           form of corruption, which means “the Government may not
           seek to limit the appearance of mere influence or access.” Id.
           at 208.

               In addition, it is not sufficient for the FEC merely to assert
           an interest in preventing quid pro quo corruption. The
           government must demonstrate the validity of its interest by
           more than “mere conjecture.” Nixon v. Shrink Mo. Gov’t PAC,
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           528 U.S. 377, 392 (2000). “When the Government defends a
           regulation on speech as a means to … prevent anticipated
           harms, it must do more than simply posit the existence of the
           disease sought to be cured.” Colo. Repub. Fed. Campaign
           Comm. v. FEC, 518 U.S. 604, 618 (1996) (cleaned up).
           Moreover, “[t]he quantum of empirical evidence needed to
           satisfy heightened judicial scrutiny of legislative judgments
           will vary up or down with the novelty and plausibility of the
           justification raised.” Shrink Mo., 528 U.S. at 391; see also
           Zimmerman v. City of Austin, 881 F.3d 378, 392–93 (5th Cir.
           2018) (discussing cases). We assess the FEC’s asserted
           interests in light of these standards.

                The FEC maintains that the loan-repayment limit
           addresses the heightened risk and appearance of quid pro quo
           corruption that results from elected officeholders soliciting
           contributions that will be used to repay their personal loans.
           The Commission posits that “[m]oney given after the
           election … provides the contributor with even more influence
           over the candidate since the candidate is benefiting personally
           from the contribution.” FEC Statement of Material Facts
           (“FEC SMF”) ¶ 73, ECF No. 65 (cleaned up). The Commission
           repeatedly characterizes post-election contributions used to
           repay candidate loans as going into the candidate’s pocket. The
           FEC also points to media reports of debt retirement parties as
           giving rise “to at least the appearance of federal candidates
           trading dollars for favors in the context of repayment of
           candidate loans.” FEC Mot. 33. The Commission maintains
           there is a public perception that individuals who contribute to
           candidates after an election are likely to expect a political favor
           in return.

              Despite these assertions, the Commission fails to
           demonstrate that quid pro quo corruption or its appearance
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           arises from post-election contributions to retire a candidate’s
           personal debt. We first observe that the FEC has not identified
           a single case of actual quid pro quo corruption in this context.
           This is particularly notable given that many states impose no
           restriction on using post-election contributions to repay
           candidate loans, 7 and the Commission fails to identify any
           problems with quid pro corruption or its appearance in these
           states. Cf. Citizens United, 558 U.S. at 357 (finding it
           significant that the government failed to claim that
           “independent          expenditures         by         for-profit
           corporations … corrupted the political process” in the twenty-
           six states that did not restrict such expenditures). Here the
           FEC’s few state examples involve only concerns that
           candidates will be too responsive to the influence of special


           7
             The Cruz campaign identifies ten states that cap candidate loans or
           restrict candidate loan repayment in some fashion. See Cruz Mem.
           in Supp. of Mot. for Summ. J. 28 & n.4, ECF No. 61-1. Georgia and
           South Carolina cap the repayment of candidate loans with post-
           election contributions, similar to BCRA’s loan-repayment limit. See
           GA. CODE ANN. § 21-5-41(h); S.C. CODE ANN. § 8-13-1328.
           Although Florida permits candidate loans and their repayment with
           pre-election contributions, it bans all post-election contributions. See
           FLA. STAT. § 106.08(3)(b). Alaska, Rhode Island, Texas, and
           Washington cap the repayment of candidate loans with either pre- or
           post-election contributions. See ALASKA STAT. § 15.13.078(b)(1);
           17 R.I. GEN. LAWS § 17-25-7.4; TEX. ELEC. CODE § 253.042(a);
           WASH. REV. CODE § 42.17A.445(3). California, Massachusetts, and
           Nebraska place no limit on the repayment of candidate loans but
           instead cap the amount that candidates may loan their campaigns.
           See CAL. GOV’T CODE § 85307(b); MASS. GEN. LAWS ch. 55, § 7;
           NEB. REV. STAT. § 49-1446.04; 4 NEB. ADMIN. CODE ch. 10,
           § 004(02). The Commission does not contest that “only a minority
           of states” restrict candidate campaign loans in some way. FEC Mot.
           34.
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           interests or concerns about contributions unrelated to the
           repayment of candidate loans. See, e.g., FEC SMF ¶¶ 76, 79.

                By contrast, in cases that have found a sufficient
           anticorruption interest, the record has been robust. In Buckley,
           the Court cited “the deeply disturbing examples surfacing after
           the 1972 election” as demonstrating that the problem of quid
           pro quo corruption was “not an illusory one.” 424 U.S. at 27 &
           n.28; see also Buckley v. Valeo, 519 F.2d 821, 838–40 &
           nn.26–38 (D.C. Cir. 1975) (en banc) (describing extensive
           factual record before Congress). In McConnell v. FEC, the
           omnibus challenge to BCRA, the record before the court
           consisted of more than 100,000 pages, including “576 pages of
           proposed findings of fact” and “the testimony and declarations
           of over 200 fact and expert witnesses.” 251 F. Supp. 2d 176,
           208–09 (D.D.C. 2003). In Bluman v. FEC, the court pointed to
           “public controversy and an extensive investigation by the
           Senate Committee on Governmental Affairs,” including
           specific examples of foreign governments attempting “to
           ‘influence U.S. policies and elections through, among other
           means, financing election campaigns,’” as justification for
           BCRA’s ban on expenditures and contributions by foreign
           nationals. 800 F. Supp. 2d 281, 283 (D.D.C. 2011) (quoting S.
           REP. NO. 105–67, at 47 (1998)).

               A lengthy record may not be sufficient to demonstrate
           corruption, but the absence of any record of such corruption
           undermines the government’s proffered interest. The FEC
           cannot carry its substantial burden by simply asserting that
           post-election contributions to repay a candidate’s loans may
           come with expectations of a political favor.

              In the absence of any evidence of actual corruption, the
           FEC turns elsewhere. For instance, the Commission relies
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           heavily on an academic article that concluded “[i]ndebted
           politicians … exhibit a heightened sensitivity in their voting
           decisions to political contributions received from special
           interest groups.” Ovtchinnikov & Valta, Debt in Political
           Campaigns 29. The article, however, does not distinguish
           between voting pattern changes as a consequence of donor
           influence or access and voting pattern changes as part of quid
           pro quo corruption. In a representative democracy, mere
           influence or access is not the type of quid pro quo corruption
           that justifies infringements on political speech. A “generic
           favoritism or influence theory … is at odds with standard First
           Amendment analyses because it is unbounded and susceptible
           to no limiting principle.” McConnell v. FEC, 540 U.S. 93, 296
           (2003) (Kennedy, J., concurring in the judgment in part and
           dissenting in part). “The line between quid pro quo corruption
           and general influence may seem vague at times, but the
           distinction must be respected in order to safeguard basic First
           Amendment rights.” McCutcheon, 572 U.S. at 209.

                The Commission also places great weight on a selective
           legislative history of the loan-repayment limit, arguing that
           lawmakers intended to “mitigate the heightened risk of quid
           pro quo corruption and its appearance resulting from already-
           elected officeholders soliciting contributions for their own
           personal benefit.” 8 FEC Mot. 6. Even on the doubtful
           8
             See, e.g., 147 CONG. REC. S2,462 (Mar. 19, 2001) (statement of
           Sen. Domenici) (“In fact, it should be a condition to your putting up
           your own money, knowing right up front you are not going to get it
           back from your constituents under fundraising events that you would
           hold and then ask them: How would you like me to vote now that I
           am a Senator?”); 147 CONG. REC. S2,541 (Mar. 20, 2001) (statement
           of Sen. Hutchison) (“[Candidates] have a constitutional right to try
           to buy the office, but they do not have a constitutional right to resell
           it.”).
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           proposition that assertions in legislative debates could carry the
           government’s burden, these statements from the legislative
           history amount to mere suppositions about the appearance of
           corruption. Moreover, the Cruz campaign proffers other tidbits
           of legislative history, including numerous statements
           suggesting that some legislators thought the loan-repayment
           limit would protect incumbents from wealthy challengers. 9 The
           competing statements in the legislative history of BCRA
           establish no clear emphasis on eradicating quid pro quo
           corruption as opposed to the impermissible purpose of leveling
           the playing field.

                In addition, the loan-repayment limit, Section 304 of
           BCRA, was enacted at the same time as Section 319, the so-
           called “Millionaire’s Amendment,” which the Supreme Court
           held unconstitutional in part because it was intended to “level
           electoral opportunities for candidates of different personal
           wealth.” Davis, 554 U.S. at 741 (cleaned up). While

           9
             See, e.g., 147 CONG. REC. S2,541 (Mar. 20, 2001) (statement of
           Sen. Hutchison) (“Our purpose is to level the playing field so that
           one candidate who has millions, if not billions, of dollars to spend on
           a campaign will not be at such a significant advantage over another
           candidate who does not have such means as to create an unlevel
           playing field.”); 147 CONG. REC. S2,465 (Mar. 19, 2001) (statement
           of Sen. Sessions) (“It also prohibits wealthy candidates, who incur
           personal loans in connection with their campaign that exceed
           $250,000, from repaying those loans from any contributions made to
           the candidate. … I know there were large contributions in this last
           Senate campaign from candidates of $10 million, $60 million, and
           other amounts of money that the winning candidates in this body
           contributed from their own funds. I tell you, I am glad I didn’t face
           a person who could write a check for $60 million, $10 million—or
           $5 million, for that matter. If so, I would like to be able to have a
           level playing field so I could stay in the ball game.”).
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           Section 304 may serve a different purpose from Section 319,
           the text of BCRA, as well as the legislative debates, linked the
           two provisions, which suggests that the loan-repayment limit
           may also “further the impermissible objective of simply
           limiting the amount of money in political campaigns.”
           McCutcheon, 572 U.S. at 218. At a minimum, the connection
           between the provisions casts further doubt on the government’s
           asserted anticorruption interest.

                Finally, the FEC relies on media reports and a YouGov
           poll, but these similarly fail to establish that restrictions like the
           loan-repayment limit serve the purpose of preventing quid pro
           quo corruption. The media reports merely hypothesize that
           individuals who contribute after the election to help retire a
           candidate’s debt might have greater influence with or access to
           the candidate. Yet this is not evidence of quid pro quo
           corruption, and minimizing influence and access is not a proper
           goal for campaign finance regulation. The YouGov poll was
           conducted at the FEC’s behest for this litigation to demonstrate
           that the loan-repayment limit addresses the appearance of
           corruption. The poll first asked respondents whether they were
           aware that candidates could loan their campaigns money and
           then be paid back with post-election contributions. FEC Mot.
           Ex. 16, ECF No. 65-16 (Decl. of Ashley Grosse, Ex. A). In the
           poll’s only two follow-up questions, 81 percent of respondents
           thought it “very likely” or “likely” that individuals who donate
           money to a federal candidate’s campaign after an election
           “expect a political favor in return,” and 67 percent of
           respondents thought donors would “be more likely to expect
           political favors” if there were no limit on repaying a candidate
           loan with post-election contributions. Id. The FEC relies on
           these responses as evidence that the loan-repayment limit
           addresses “at least the appearance of quid pro quo corruption.”
           FEC Mot. 32.
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                We disagree. Such generic questions do not get at the
           specific problem of quid pro quo corruption the government
           asserts this statute combats. On the government’s reasoning,
           the poll answers would raise doubts about any contributions to
           incumbents (i.e. winning candidates) who use post-election
           contributions to retire any type of campaign debt. Even if
           contributors who donate to retire a candidate’s debt expect
           political favors, that hardly demonstrates that the (now elected)
           official is more likely to grant such political favors. Moreover,
           the poll did not define the term “political favor,” so the poll’s
           responses are not evidence that the public associates such
           contributions with quid pro quo corruption, which Congress
           may regulate, or simply increased influence and access, which
           Congress may not. See McCutcheon, 572 U.S. at 208. Finally,
           the poll failed to mention that the individual contribution limit
           applies to post-election contributions just as it does to pre-
           election contributions. That omission renders the poll an
           ineffective measure of public perception of possible corruption
           in this context. At most, the poll suggests that some members
           of the public distrust or are skeptical about using contributions
           to repay candidate loans, but the “tendency to demonstrate
           distrust” is insufficient to establish corruption or its
           appearance. Nat’l Conserv. PAC, 470 U.S. at 499. We conclude
           the FEC fails to demonstrate that the loan-repayment limit
           serves an interest in preventing quid pro quo corruption.

               The FEC also maintains that the loan-repayment limit
           prevents the circumvention of base contribution limits because
           without the limit a candidate could keep outstanding loans
           from past campaigns, which would allow individuals to stack
           up maximum contributions for each election for which the
           candidate had open loans. The problem with the FEC’s
           position, however, is that contributors are permitted to make
           multiple contributions at a single time—they can contribute to
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           retire debt from a previous election (subject to the loan-
           repayment limit) and they can contribute to any ongoing
           campaign for a future election. Each of these separate per-
           election contributions, however, is limited by the base
           contribution limit. Nothing about the potential for stacking
           circumvents the base limits. What the FEC terms
           “circumvention” is in fact a lawful contribution under existing
           campaign finance laws.

                The government suggests it is dissatisfied with the
           possibility of large one-time contributions, which the FEC
           treats as a kind of legal loophole. Yet the loan-repayment limit
           does little to close the ostensible loophole, because the limit
           applies only to a candidate’s personal loans, not to other
           campaign debt. Also, the FEC fails to identify a plausible
           financial incentive for a candidate to carry significant personal
           campaign debt over many years simply to keep open the
           possibility of soliciting larger stacked donations in the future.

                In sum, the FEC’s position amounts to speculation that
           contributions to pay off a candidate’s personal loans carry a
           danger of quid pro quo corruption, but the Supreme Court has
           “never accepted mere conjecture as adequate to carry a First
           Amendment burden.” Shrink Mo., 528 U.S. at 392. The
           government has failed to demonstrate that its interest in the
           loan-repayment limit is sufficiently important, because the
           limit serves no additional purpose in preventing quid pro quo
           corruption or the circumvention of base contribution limits.
           With little connection to any actual or perceived quid pro quo
           corruption interest, the FEC’s asserted rationale boils down to
           a general concern about money in politics and campaign
           contributions to incumbents—but such general concerns about
           influence or access cannot justify government regulation in the
           vital area of political speech.
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                                          2.

                Even if the government had shown that the limit was
           justified by an important government interest, the loan-
           repayment limit is not “closely drawn” to protect expressive
           and associational freedoms. McCutcheon, 572 U.S. at 218
           (quoting Buckley, 424 U.S. at 25). “In the First Amendment
           context, fit matters.” Id. The government’s rationale for the
           loan-repayment limit fits about as well as a pair of pandemic
           sweatpants. The First Amendment requires a better fit than that.

                When assessing fit even under standards short of strict
           scrutiny, we “require a fit that is not necessarily perfect, but
           reasonable; that represents not necessarily the single best
           disposition but one whose scope is in proportion to the interest
           served, that employs not necessarily the least restrictive means
           but a means narrowly tailored to achieve the desired objective.”
           Id. (cleaned up). As part of the inquiry we consider “whether
           experience under the present law confirms a serious threat of
           abuse,” and whether there are less burdensome alternatives
           available to the government in securing its interests. Id. at 219
           (quoting FEC v. Colo. Repub. Fed. Campaign Comm., 533
           U.S. 431, 457 (2001)).

                In arguing for a close fit, the FEC maintains “[t]he Loan
           Repayment Limit is tailored to apply in situations when the
           strength of the government’s important anti-corruption
           interests are at their peak,” because “the candidate will be in a
           position to grant political favors to [post-election]
           contributors.” FEC Mot. 40. Moreover, the FEC asserts, the
           limit is well tailored because it applies only to situations in
           which “the candidate or officeholder is directly, personally
           benefiting from the contributions,” and it does not prevent
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           campaigns from repaying the loans in full with pre-election
           funds. Id. at 41.

                Contrary to the government’s assertions, the loan-
           repayment limit is not sufficiently tailored to achieve the
           objective of preventing quid pro quo corruption or its
           appearance. To begin with, the loan-repayment limit is over
           inclusive. It applies across the board to winning and losing
           candidates, although any purported anticorruption rationale
           applies only to winning candidates. The FEC’s primary
           defense of the regulation is that post-election contributions
           used to retire a candidate’s personal campaign loans are
           particularly susceptible to quid pro quo corruption or its
           appearance. This justification, however, does not apply to
           candidates who lose an election and therefore have no way to
           provide improper benefits to contributors who donate to retire
           election debt. Losing candidates are less likely to receive post-
           election contributions and, in any event, contributions made to
           a losing candidate pose essentially no risk of corruption or its
           appearance. See Anderson, 356 F.3d at 673 (invalidating a state
           cap on candidate loans and explaining that “the risk of quid pro
           quo is virtually non-existent where the contribution is made to
           a losing candidate who seeks to recoup some of his debt”).
           When a campaign finance regulation sweeps in conduct well
           beyond the government’s asserted rationale, it does not provide
           the close fit required by the First Amendment.

                The loan-repayment limit is also substantially
           underinclusive as to the government’s asserted interests.
           Although “the First Amendment imposes no freestanding
           underinclusiveness limitation,” a law’s underinclusiveness can
           indicate a poor fit and can raise doubts about whether the law
           advances the interests invoked by the government. Williams-
           Yulee v. Fla. Bar, 135 S. Ct. 1656, 1668 (2015) (cleaned up).
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           Here, aside from the loan-repayment and base contribution
           limits, there are no restrictions on post-election contributions
           made to retire other types of campaign debt. A person may
           contribute to retire any outstanding campaign debt, with the
           exception of a candidate’s personal loans over $250,000. The
           FEC argues that a candidate who makes a loan to his campaign
           that he expects will be repaid is more dependent on outside
           contributions than a candidate who simply gives the money to
           his campaign. Yet not all candidates can afford to just give
           money to their campaigns—and there is nothing inherently
           corrupting about receiving campaign contributions after an
           election.

                The FEC’s concerns regarding post-election contributions
           to retire candidate loans seem to apply equally to any
           contribution made to an incumbent, because all incumbents are
           in a position to grant favors. But Congress does not restrict pre-
           election contributions to incumbents except through the base
           contribution limit. The government has advanced no reason
           why a contribution made to an incumbent before the election
           poses no risk of corruption, but the same contribution made
           after the election to a winning candidate (now incumbent) and
           applied to pre-election debt poses a unique and heightened
           concern of quid pro quo corruption.

               The government’s fit rationale also cannot explain why
           post-election contributions to retire pre-election debt are
           permissible up to the $250,000 cap. This cap means that in the
           current election cycle, a campaign committee can accept just
           over eighty-six maximum contributions after the election to
           repay a candidate loan (eighty-six contributions of $2,900
           aggregates to $249,400, just shy of the $250,000 ceiling). It is
           hardly clear why the eighty-seventh or eighty-eighth
           contributor poses a particular danger of quid pro corruption. Cf.
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           McCutcheon, 572 U.S. at 210. Instead, the $250,000 cap
           operates to limit or disincentivize the total amount of campaign
           expenditure a candidate makes through personal loans.

                The loan-repayment limit also imposes an additional
           regulatory requirement on top of the existing base limits. The
           loan-repayment limit is exactly the sort of “prophylaxis-upon-
           prophylaxis approach” that demands “we be particularly
           diligent in scrutinizing the law’s fit.” Id. at 221 (cleaned up).
           As the D.C. Circuit has explained, “an additional constraint
           layered on top of the base limits … separately need[s] to serve
           the interest in preventing the appearance or actuality of
           corruption.” 10 Holmes v. FEC, 875 F.3d 1153, 1161 (D.C. Cir.
           2017) (en banc) (cleaned up). Post-election contributions, like
           contributions made before an election, are subject to the base
           limits, which serve to prevent the dangers of quid pro quo
           corruption. Layered on top of the base limits, the loan-
           repayment limit places an additional restriction on pre-election
           expenditures and post-election contributions, but the
           government has failed to demonstrate that the limit provides
           additional protection against quid pro quo corruption or its
           appearance.


           10
               Other circuit courts have similarly interpreted McCutcheon as
           requiring the government to make an additional showing to justify
           campaign finance restrictions that operate on top of base limits. See,
           e.g., Jones v. Jegley, 947 F.3d 1100, 1106 (8th Cir. 2020) (“Just as
           in McCutcheon, Arkansas’s failure here to provide any evidence that
           its blackout period accomplishes anything more than the $2,700 base
           limits alone means that it cannot survive exacting scrutiny.”);
           Zimmerman v. City of Austin, 881 F.3d 378, 392 (5th Cir. 2018)
           (holding restrictions in addition to the base limit “must be justified
           by evidence that the additional limit serves a distinct interest in
           preventing corruption that is not already served by the base limit”).
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                The Commission next tries to demonstrate fit by
           minimizing the burden of the loan-repayment limit. For
           instance, the Commission maintains that the loan-repayment
           limit “increase[s] the funds available to campaign
           committees,” and so does not “prevent[] campaigns from
           ‘amassing the resources necessary for effective advocacy.’”
           FEC Mot. 41 (quoting Randall v. Sorrell, 548 U.S. 230, 247
           (2006) (plurality opinion)). The FEC overreads Randall, which
           noted that if a contribution limit prevents a campaign from
           amassing the necessary resources, it cannot survive under the
           First Amendment. See Randall, 548 U.S. at 248. It does not
           logically follow, however, that if a campaign can manage to
           amass necessary resources, the regulation survives First
           Amendment scrutiny. Preventing candidates from amassing
           resources is only one of the reasons a regulation of political
           speech may fail under the First Amendment, and therefore it
           cannot serve as an independent basis for upholding a
           regulation. Cf. Libertarian Nat’l Comm. v. FEC, 924 F.3d 533,
           558–59 (D.C. Cir. 2019) (en banc) (Katsas, J., concurring in
           part, concurring in the judgment, and dissenting in part).
           Moreover, the determination of what resources are “necessary”
           for effective speech must be left to individual speakers, not the
           FEC.

                Finally, the Commission urges this court to defer to
           Congress’s judgment that the loan-repayment limit is
           necessary for combatting corruption. While we must respect
           the legislative choices of Congress acting within its
           constitutional sphere, we cannot defer on the question of
           whether a particular legislative choice is in fact constitutional.
           “We must give weight to attempts by Congress to seek to dispel
           either the appearance or the reality of [corruptive] influences.
           The remedies enacted by law, however, must comply with the
           First Amendment; and it is our law and our tradition that more
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           speech, not less, is the governing rule.” Citizens United, 558
           U.S. at 361; see also Schneider v. State, 308 U.S. 147, 161
           (1939) (explaining that legislative judgments may be
           “insufficient to justify” a restriction that “diminishes the
           exercise of rights so vital to the maintenance of democratic
           institutions”). Courts cannot rubber stamp congressional
           preferences when important First Amendment interests are at
           stake.

               In sum, we hold that the government failed to meet its
           burden of demonstrating that the loan-repayment limit serves
           an interest in combatting quid pro quo corruption or its
           appearance and that in any event the loan-repayment limit is
           insufficiently tailored to meet this objective.

                                        ***

                When it comes to campaign finance regulation, the foxes
           are effectively in charge of the political henhouse, because
           elected officials set the rules for future elections. The
           Constitution, however, does not leave our liberties to the foxes.
           Laws regulating political speech implicate First Amendment
           rights essential to a free democracy, and courts have an
           independent duty to scrutinize the government’s interest as
           well as the means chosen to realize it. To protect “the political
           responsiveness at the heart of the democratic process,”
           McCutcheon, 572 U.S. at 227, Congress may regulate political
           speech only to prevent the specific problem of quid pro quo
           corruption. The loan-repayment limit does not serve that
           interest, and the government’s arguments to the contrary boil
           down to hypothetical concerns about influence and access to
           incumbents. Such justifications are not sufficient under the
           First Amendment to uphold a statute that burdens political
           speech. The loan-repayment limit intrudes on fundamental
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           rights of speech and association without serving a substantial
           government interest.

               For the foregoing reasons, we hold that the loan-
           repayment limit, Section 304 of BCRA, is unconstitutional
           because it violates the First Amendment. Thus, the court denies
           the Commission’s motion for summary judgment and grants
           the Cruz campaign’s motion for summary judgment. A
           separate order accompanies this memorandum opinion.
